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IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK
 Samantha Guery, individually and on behalf of
 all others similarly situated,
                                                    Case No. ________________
                               Plaintiff,

        v.
                                                    CLASS ACTION COMPLAINT
 DraftKings, Inc.
                                                    JURY TRIAL DEMANDED
                               Defendant.




       Plaintiff Samantha Guery (“Plaintiff”), individually and on behalf of all others similarly

situated (the “Class”), brings this class action against Defendant DraftKings, Inc. (“DraftKings”

or “Defendant”). Plaintiff makes the following allegations based on personal knowledge as to her

own acts, and upon information and belief and the investigation of counsel as to all other matters.

                                      Nature of the Action

       1.      In 2018, the Supreme Court held that states could legalize sports betting. This

opened the doors for sportsbooks (such as DraftKings) to access millions of new potential bettors.

       2.      Sportsbooks were highly motivated to capture new customers, particularly since

there would be intense competition for new customers in these nascent marketplaces. To make

inroads into these lucrative new markets, sportsbooks invested heavily in advertising and

promotional incentives, such as sign-up promotions and bonuses.

       3.      DraftKings offered multiple promotions to attract new users, build market share,

and maximize its earning capacity. DraftKings knew that new users could potentially be converted

to long-term customers, which would be extremely profitable for the sportsbook. DraftKings

targeted certain promotions at potential new customers who may have been reticent about risking
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their money. But rather than put as much of its own money on the line as it implied to new

customers, DraftKings used misleading promotions to lure new users into opening accounts while

believing the promotional offers they responded to were financially more advantageous to the

consumers than they actually were.

       4.      One such deceptive practice was DraftKings’ promotion that told new users that if

they signed up, their first bet would be risk free (“Risk-Free Bet”). The bets, however, were not as

advertised. The promotion required that the customer place a bet with their own money. If a

customer lost their bet, they were not returned to their original position. Instead, their accounts

were credited with a “Free Bet” that was worth less than its counterpart in U.S. dollars implied by

the promotional materials.

       5.      Free Bets cannot be withdrawn and must be wagered to be converted to U.S. dollars.

Furthermore, wagers made with Free Bets are not paid out like wagers made with U.S. dollars. A

$100 winning bet made with U.S. dollars at even odds recovers the $100 stake plus the $100

winnings less the sportsbook’s cut (known as the “vig” or “rake”) of 9%, which results in a

payment of approximately $191. By contrast, a winning bet made with a $100 Free Bet converts

only to $100 US dollars less vig, which results in a payment of approximately $91.

       6.      The Free Bet is worth less than half of the initial bet. The difference renders the

supposed “risk-free” promotion anything but risk free.

       7.      DraftKings has paid for large-scale marketing, including in television and print

advertisements, in-arena marketing, and extensive internet and social media advertising to promote

the false Risk-Free Bet. These advertisements contain materially deceptive representations that

allowed DraftKings to sign up thousands of new customers. These representations and omissions,

which Plaintiff and other reasonable consumers relied upon, were misleading and false.



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       8.      These marketing representations and omissions violate state consumer protection

law, as discussed in detail below. Reasonable consumers, including Plaintiff, were misled to their

detriment. They did not receive the advertised benefit of the promotional Risk-Free Bet, and in

many cases they placed larger bets than they would have but for the misleading advertising.

       9.      Plaintiff seeks actual damages, punitive damages, and statutory damages to

compensate herself and the Class for the injury inflicted on them by DraftKings and to prevent

DraftKings from continuing to deceive consumers.

                                             PARTIES

       10.     Plaintiff Samantha Guery is a resident of the Bronx, New York. Plaintiff Guery

made a Risk-Free Bet in July 2023, which she lost, resulting in a Free Bet that was worth

substantially less than its advertised cash equivalent.

       11.     Defendant DraftKings, Inc. is a Nevada gambling and entertainment corporation

headquartered in Boston, Massachusetts. As of April 2023, DraftKings is a publicly traded

company that trades on the Nasdaq Stock Exchange.

                                 JURISDICTION AND VENUE

       12.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332(d)(2), because the matter in controversy exceeds $5,000,000, exclusive of interest

and costs, and this is a class action in which at least one member of the class is a citizen of a

different state than Defendant. The number of members of the proposed class in aggregate exceeds

100 users. 28 U.S.C. § 1332(d)(5)(B).




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       13.     This Court has personal jurisdiction over Defendant because it regularly conducts

and/or solicits business in, engages in other persistent courses of conduct in, and/or derives

substantial revenue from products and/or services provided to persons in this District.

       14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Defendant

does business in this District and because a substantial part of the events or omissions giving rise

to the claims occurred in this District.

                                   FACTUAL ALLEGATIONS

       15.     In 2018, the Supreme Court ruled in Murphy v. National Collegiate Athletic

Association, 138 S. Ct. 1461 (2018), that states could regulate sports betting within their borders.

State legislatures moved quickly and, as of April 2023, sports betting was legalized in 36 states

and Washington, DC. New York State legalized sports betting and sportsbooks began operations

on January 8, 2022.

       16.     Since 2018, the market for sports betting has exploded. Total sports betting revenue

in the US jumped from $430 million in 2018 to $7.56 billion in 2022. 1 In 2023, sports betting

revenue jumped to $10.92 billion, a 44.5% year over year increase. 2

       17.     This rapid expansion of the industry has led to fierce competition between

sportsbooks. As successive states legalized sports betting, the various operators would bombard

the state with advertisements and promotions in order to capture valuable market share.




1
  Total Sports Betting Revenue in the United States from 2018 to 2022, Statista,
https://www.statista.com/statistics/1126480/sports-betting-revenue-us/.
2
  U.S. Sports Betting Industry Sets Record With nearly $11 Billion in 2023 Revenue, Sports
Business Journal, https://www.sportsbusinessjournal.com/Articles/2024/02/21/us-sports-betting-
industry-record-revenue-
2023#:~:text=U.S.%20sports%20betting%20industry%20sets%20record%20with%20nearly,for
%202023%2C%20according%20to%20Doug%20Greenberg%20of%20ESPN.com.
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       18.     Sportsbook companies also developed mobile apps to make it convenient for

customers in these fledgling markets to place bets almost anywhere at any hour.

       19.     DraftKings was no exception. DraftKings’ sales and marketing expenses totaled

$1.186 billion in 2022. DraftKings ran TV, radio, social media, email, billboard, and print

advertising. The ads would often showcase various promotions that DraftKings was running,

typically targeting new users.

       20.     DraftKings knew that adding new users was critical to its long-term success even

at the cost of short-term profitability. According to DraftKings’ 10K report, “Achieving growth in

our community of users may require us to increasingly engage in sophisticated and costly sales

and marketing efforts, which may not have a favorable return on investment.”

       21.     DraftKings understood that winning new users now would pay dividends over time.

Although average customer acquisition may cost hundreds of dollars, being the first sportsbook a

customer signs up for normally pays for itself many times over. In 2020, DraftKings reported that

a customer’s lifetime value to a book was around $2500, while DraftKings’ average customer

acquisition cost was only $371.

       22.     While many American bettors have more than one sportsbook account, it is

beneficial to be a bettor’s first account. According to McKinsey partner Dan Singer, “When a

market opens up, you’ve got to get out there and start acquiring, because being the first book that

someone downloads gives you roughly twice as much action as being the second or the third.” 3

       23.     DraftKings’ customer retention rate in 2021 was greater than 80%, yet its revenue

retention rate was 100%. Revenue retention rate is a metric that measures the amount of revenue




3
 Sportsbooks Are Sweating Their Billion Dollar Marketing Bet, Washington Post,
https://www.washingtonpost.com/sports/2022/09/27/caesars-fanduel-draftkings-commercials/.
                                                5
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that a company’s existing customers generate over a set period, often on a yearly basis. It excludes

revenue from new customers. So DraftKings lost around 20% of the initial customers that had

signed up for the platform. However, their revenue from that initial cohort of customers remained

the same. This is because the customers that do remain increase their total amount spent on the

platform over time. On average new customers become profitable for the sportsbooks after three

to four months. 4

         24.    Once the sportsbooks have acquired the desired market share in a state, they begin

to shift their focus to customer retention, which is significantly cheaper than customer acquisition.

At the customer retention stage, sportsbooks expect to recapture their investment. According to

some financial analysts, DraftKings and other books have reached this stage in some of the states

that were early adopters of legalized gamblers. 5

         25.    DraftKings’ preferred audience is new users and casual gamblers—those who are

most likely to lose money. Its CEO admitted: “This is an entertainment activity. People who are

doing this for profit are not the ones we want.” In fact, sportsbooks, including DraftKings, will

often limit or even outright ban “sharps,” gamblers who are sophisticated and make too many

winning bets. 6




4
    New York Tough: Books Face Delicate Balance In War To Acquire New Sports Bettors,
       Sportshandle, https://sportshandle.com/new-york-sportsbooks-customer-acquisition-costs/
       (last visited May 16, 2023)
5
    Online Sportsbook: A Shift In Player Retention?, Gaming America,
        https://gamingamerica.com/magazine/7296/online-sportsbook-a-shift-in-player-retention
        (last visited May 16, 2023)


6
 Why DraftKings CEO Jason Robins Said “People Who Are Doing This For Profit Are Not The
Players We Want, BettingUSA.com, https://www.bettingusa.com/draftkings-comments-
controversy/
                                                    6
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       26.     Legalizing gambling leads to a large rise in gambling addiction in that state. The

National Council on Problem Gambling reported an increase of 43% in calls in 2021, as well as

an increase of 84% in online chats.

       27.     Similarly, states that have legalized sports betting have seen dramatic increases in

calls to gambling addiction helplines. In Connecticut, for example, helpline calls jumped 91% in

the first year after legalization; in Massachusetts, calls are up 276% since 2020; in Ohio, which

just opened the door to legal sports betting in January 2023, calls to the state's problem gambling

hotline tripled in the first month compared to the same period last year; in the first year after

Virginia legalized sports gambling, calls climbed 387%; in Illinois, calls rose 425% between 2020

and 2022.

       28.     These trends are particularly prevalent in young men in their 20s, a key

demographic for DraftKings and other sportsbooks.

       29.     According to Keith Whyte, executive director of the National Council on Problem

Gambling, “We believe that the risks for gambling addiction overall have grown 30% from 2018

to 2021, with the risk concentrated among young males 18 to 24 who are sports bettors.” 7

       30.     DraftKings touts that its “[s]ophisticated data science drives marketing decisions,”

which “delivers the right message, to the right user at the right time,” to maximize return on

investment.

       31.     Unsurprisingly, the target demographic overlaps heavily with the group most at risk

of gambling addiction. As of 2021, 90% of DraftKings’ sportsbook users were male and 53% were

between the ages of 18-34.



7
  These are the Real Dangers of the Sports Betting Boom for Young Men, Megan Gunn,
Newsweek Magazine, https://www.newsweek.com/2023/04/07/sports-betting-boom-linked-
rising-gambling-addiction-anxiety-suicide-1789055.html
                                                7
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                                   “Risk-Free Bet” Promotions

         32.   DraftKings offered a variety of substantially similar Risk-Free Bet promotions. The

dollar amount that could be placed “risk free” varied but could be up to $1000.

         33.   Such tantalizing offers have been effective at persuading new users to open betting

accounts they may not otherwise have opened and to bet amounts they may not otherwise have

bet. After DraftKings’ lured users into opening accounts based on the promise of Risk-Free Bets,

many new users discovered their money was indeed at risk.

         34.   The false promise of “risk-free” bets was specifically designed to overcome many

new users’ natural resistance to gambling and to grab market share in the newly legal sports betting

industry. DraftKings was well aware of the dangerous effects of such promises on new users’

thinking: If it’s risk free, why not bet more? Customers in states where gambling has not previously

been permitted could more easily fall prey to such promotions, endangering their financial well-

being.

         35.   DraftKings deliberately did not communicate that customers availing themselves

of the Risk-Free Bet promotion would only be credited with a Free Bet. A commonsense

understanding of the “$1000 Risk-Free Bet” offered on the promotional materials made no

suggestion that the Risk-Free Bet would be turned into a Free Bet that was, in fact, far less valuable

than the same figure in U.S. dollars. DraftKings deliberately sowed this confusion by using the

dollar symbol ($) in its promotional materials.

         36.   Here’s how DraftKings’ Risk-Free Bets actually work. When a consumer places a

bet as part of a risk-free bet promotion, they are wagering their own money. If the consumer wins,

the initial bet is paid out exactly the same as a normal bet, and the promotion has no effect. Thus,




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a winning bet of $100 would pay out =approximately $191 (after DraftKings takes its typical 9%

rake).

         37.   However, if the customer loses their initial bet, their account is debited the amount

of their loss in U.S. dollars (in this case $100) and their account is credited with a “$100 Free Bet.”

These Free Bets, however, have no cash value, are non-transferrable, and non-refundable.

Additionally, when a customer wins a bet with the Free Bet, they do not receive the stake back. If

a customer uses their $100 Free Bet on a wager with even odds (like a coin toss), they end up with

$91 if they win (because of the vig discussed above), and $0 if they lose. By contrast, if the

customer had been given $100 cash to bet, they would have $191 if they won, and $0 if they lost.

Therefore, the $100 Free Bet is worth roughly half as much as $100 of U.S. currency. Further, the

Free Bet is only suitable for gambling, and there is no guarantee that the person will win the Free

Bet, whereas cash need not be gambled and could simply be deposited in the customer’s bank

account to be used in any manner.

         38.   As soon as the customer loses their initial bet, they are not in the same position as

they were before placing their bet, and thus there is nothing risk free about the transaction.

           Regulators Recognize the Sportsbooks’ Misleading Promotion Language

         39.   Regulators have caught on to the misleading language concerning Risk Free Bets.

Several illustrative examples are discussed below.

         40.   Matthew Schuler, executive director of Ohio’s Casino Control Commission,

recently said: “If something is claiming to be free or risk-free, then it has to absolutely not require

the patron to incur any loss or risk their own money.” Disclosing the risks within the terms and




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conditions isn’t good enough, he added. “We are not supportive of trying to put the truth in small

print.” 8

            41.   DraftKings was sent a notice of violation by the Ohio Casino Control Commission

which included a penalty of $150,000 for the use of “risk-free bet” language. Previously Draft

Kings had received a notice of violation from the same commission for advertising to individuals

under the age of 21.

            42.   The New York Attorney General’s office admonished: “Since online sports

gambling became legal in New York last month, New Yorkers have been bombarded with

misleading ads on social media and streaming sites that claim ‘risk-free’ bets and ‘$1,000 welcome

offers,’ which sound like free money, but often come with strings attached without consumers’

awareness.” 9

            43.   New York Attorney General Letitia James went on to clarify: “I urge all New

Yorkers watching the Super Bowl and betting online for the first time to be careful – don’t let

scammers game your gamble. Before placing a bet, do your research into the platform, read the

fine print of the offer, and follow our other tips to avoid any red flags and keep the odds in your




8
  Sportsbooks Call Them Risk-Free Bets. Just Don’t Read the Fine Print. Danny Funt,
Washington Post, https://www.washingtonpost.com/sports/2022/12/26/risk-free-bets-mgm-draft-
kings-fanduel-caesars/
9
  Consumer Alert: AG Warns New Yorkers of Deceptive Online Sports Betting Companies
Ahead of Super Bowl, Kevin Thomas, New York State Senate,
https://www.nysenate.gov/newsroom/articles/2022/kevin-thomas/consumer-alert-ag-warns-new-
yorkers-deceptive-online-
sports#:~:text=Since%20online%20sports%20gambling%20became%20legal%20in%20New,oft
en%20come%20with%20strings%20attached%20without%20consumers%E2%80%99%20awar
eness.
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favor. Online sports betting companies that fumble their advertising to mislead New Yorkers can

expect to hear from my office.” 10

        44.      The Massachusetts Gaming Commission prohibits sportsbooks from running

promotions advertised as “free” or “risk free” if a bettor needs to risk their own money as part of

the promotion.

        45.      The NBA took a stance on the language, banning it on platforms operated by the

NBA or its franchises in February of 2023.

        46.      Many of the sportsbooks started to move away from the “risk-free” language in

2022.

        47.      According to the Washington Post in a December 2022 article, Betfred COO Bryan

Bennett admitted publicly that the company’s prior “risk-free” offers were “unclear”:

                 “We had some unclear terms, which doesn’t do anyone any good,” Chief Operating

                 Officer Bryan Bennett said. “You get angry customers and customer support agents

                 getting beaten all day. We made a conscious decision to not do that anymore and

                 try to be as upfront as possible.” 11

        48.      DraftKings advertised a risk-free bet of up to $1000 on several occasions.




10
   CONSUMER ALERT: Attorney General James Warns New Yorkers of Deceptive Online
Sports Betting Companies Ahead of Super Bowl, Office of the New York State Attorney
General, https://ag.ny.gov/press-release/2022/consumer-alert-attorney-general-james-warns-new-
yorkers-deceptive-online-
sports#:~:text=%E2%80%9CI%20urge%20all%20New%20Yorkers%20watching%20the%20Su
per,flags%20and%20keep%20the%20odds%20in%20your%20favor.
11
   Sportsbooks Call Them Risk-Free Bets. Just Don’t Read the Fine Print. Danny Funt,
Washington Post, https://www.washingtonpost.com/sports/2022/12/26/risk-free-bets-mgm-draft-
kings-fanduel-caesars/
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49. DraftKings also offered the promo in smaller dollar amounts.




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       50.     DraftKings’ mobile app and online website feature numerous invitations and

advertisements to sign up for the DraftKings service. While registering, a customer would have

been shown promotional offers, some of which made the same or materially similar promises

outlined above.

       51.     At no time in DraftKings’ marketing or during DraftKings’ sign-up process were

Plaintiff and the Class Members warned of the true financial risks of using DraftKings’ services

to place a bet—including the immediate and acute risk of losing the entire amount in that initial

bet and the risk that losses will never be reimbursed by Defendant.

       52.     Defendant advertises bets as “risk-free.” However, the marketing (including during

the sign-up process) misrepresents and omits several key facts about the service. First, there is

necessarily risk, because a consumer cannot simply cash out a refund, but instead must place

another bet (the so-called Free Bet). Second, the Free Bet is not worth its cash equivalent even if

the cash were gambled because the consumer does not receive the stake back if they win (unlike

with a cash bet).

       53.     As a result, users like Plaintiff who signed up for and used the DraftKings risk-free

promotion and lost their first bet, ended up losing a substantial portion of their initial stake.




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                                    CLASS ALLEGATIONS

       54.      Plaintiff brings this action on behalf of himself, and all others similarly situated

pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3) as representatives of the Class,

which is defined as follows:

                Any DraftKings customer who wagered in the state of New York and utilized a

                DraftKings promotion advertising a “risk-free” bet with Defendant and lost their

                first bet.

       55.      Excluded from the Class are Defendant and its affiliates, parents, subsidiaries,

employees, officers, agents, and directors. Also excluded are any judicial officers presiding over

this matter and the members of their immediate families and judicial staff.

       56.      This case is properly brought as a class action under Rule 23(a) and (b)(3) for the

following reasons:

             a. Numerosity: The Class is so numerous that joinder of all members in this action is

                impracticable. The exact number and identity of all Class Members is unknown by

                Plaintiff at this time. However, Plaintiff believes there are tens of thousands and

                potentially even hundreds of thousands of Class Members. The number and identity

                of Class Members can be determined through discovery of Defendant.

             b. Commonality and Predominance: Plaintiff and Class Members were all injured

                by the same unlawful conduct, as the misleading advertisements were intentionally

                distributed to maximize visibility. Therefore, there are common questions of law

                and fact shared by the Class, and those questions and their common answers will

                predominate over any questions that might affect particular Class Members.



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              c. Typicality: Plaintiff’s claims are typical of those of the Class. Plaintiff’s injury has

                 been caused by the general unlawful conduct of Defendant, which would provide

                 the same basis for a claim for all Class Members.

              d. Adequacy of Representation: Plaintiff will fairly and adequately protect and

                 represent the interests of the Class. Plaintiff’s interests are not antagonistic to the

                 Class. Plaintiff is represented by counsel who are experienced and competent in the

                 prosecution of complex class actions.

              e. Superiority: A class action is superior to other available methods for fairly and

                 efficiently adjudicating this controversy. Class Members’ claims are not efficient

                 or economical for them to litigate on an individual basis. Even if the Class Members

                 could afford it, the court system could not, as judicial resources would be tied up in

                 the management and oversight of tens of thousands of actions, all based on the same

                 alleged wrongdoing of Defendant. This is an appropriate forum in which to litigate

                 these claims, as New York State’s population and the Class Members are

                 concentrated in this forum. Finally, there are no particular difficulties presented by

                 the management or trial of this action as a class action.

                                        CAUSES OF ACTION
                                    FIRST CAUSE OF ACTION
                                Violation of N.Y. Gen. Bus. Law § 349

        57.      Plaintiff repeats and realleges the allegations in paragraphs 1 through 56 as if fully

set forth herein.

        58.      Plaintiff brings this claim against DraftKings under New York General Business

Law (“GBL”) § 349 on behalf of herself and the Class.




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         59.    New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . . .”

         60.    DraftKings’ unlawful consumer-oriented conduct was misleading, deceptive,

unlawful, fraudulent, and unfair in that Defendant materially misrepresented the nature of its

promotions.

         61.    DraftKings disseminated through the State of New York, through advertising,

marketing, and other publications, statements that were untrue and misleading, and which

DraftKings knew were untrue and misleading.

         62.    DraftKings’ misrepresentations were material and substantially uniform in content,

presentation, and impact upon consumers at large. Consumers were exposed to DraftKings’

material misrepresentations.

         63.    Defendant made its deceptive and misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

         64.    Additionally, DraftKings’ conduct was unlawful. New York law requires that all

gambling advertisements “comply with Racing, Pari-Mutuel Wagering and Breeding Law [PML]

section 1363 and with advertising guidelines issued by the National Council on Problem

Gambling.” 12

         65.    Plaintiff and the Class have suffered injuries as a result of DraftKings’ deceptive

conduct.




12
     See 9 CRR-NY 5325.6.
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        66.     Defendant’s conduct as alleged herein constitutes a deceptive act and practice in

the conduct of business in violation of New York General Business Law § 349(a) and Plaintiff and

other members of the Class have been damaged thereby.

        67.     As a result of Defendant’s recurring deceptive acts and practices, Plaintiff and other

Class Members are entitled to monetary and compensatory damages, of all moneys obtained by

means of Defendant’s unlawful conduct, interest, and attorneys’ fees and costs. This includes

actual damages under GBL § 349, as well as statutory damages of $50 per unit purchased pursuant

to GBL § 349.

                                 SECOND CAUSE OF ACTION
                              Violation of N.Y. Gen. Bus. Law § 350

        68.     Plaintiff repeats and realleges the allegations in paragraphs 1 through 56 as if fully

set forth herein.

        69.     Plaintiff brings this claim against DraftKings under New York GBL § 350 on behalf

of herself and the Class.

        70.     N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

                False advertising in the conduct of any business, trade or commerce or in
                the furnishing of any service in this state is hereby declared unlawful.

        71.     N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

                The term ‘false advertising, including labeling, of a commodity, or of the
                kind, character, terms or conditions of any employment opportunity if such
                advertising is misleading in a material respect. In determining whether any
                advertising is misleading, there shall be taken into account (among other
                things) not only representations made by statement, word, design, device,
                sound or any combination thereof, but also the extent to which the
                advertising fails to reveal facts material in the light of such representations
                with respect to the commodity or employment to which the advertising
                relates under the conditions proscribed in said advertisement, or under such
                conditions as are customary or usual . . .


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       72.      Defendant’s advertising contains a deceptive and materially misleading statement

concerning the “risk free” nature of the bets.

       73.      Plaintiff and the Class have suffered injuries as a result of DraftKings’ deceptive

conduct.

       74.      Defendant engaged in its unlawful conduct as alleged herein willfully, wantonly,

and with reckless disregard for the truth.

       75.      Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Vehicles were and continue to be exposed to Defendant’s unlawful conduct.

       76.      Pursuant to N.Y. Gen. Bus. Law §350(e) Plaintiff and the Class seek monetary

damages (including actual damages, or $500, whichever is greater, and minimum, punitive, or

treble and/or statutory damages pursuant to N.Y. GBL § 350(a1)), injunctive relief, restitution, and

disgorgement of all monies obtained by means of DraftKings’ unlawful conduct, interest, and

attorney’s fees and costs.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff, individually and on behalf of the Class, demands a jury trial on all claims

so triable and judgment as follows:

       A. Certifying the proposed Class, appointing Plaintiff as representative of the Class, and

             appointing counsel for Plaintiff as Class Counsel;

       B. Declaring that Defendant is financially responsible for notifying the Class members of

             the pendency of this suit;

       C. Declaring that Defendant’s policies and practices as described herein constitute a

             violation of the consumer protection statutes invoked herein;


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        D. Enjoining Defendant from the wrongful conduct as described herein;

        E. Awarding actual and/or compensatory, multiple, punitive, and statutory damages in an

              amount according to proof;

        F. Awarding Plaintiff her reasonable costs and expenses of suit, including attorneys’ fees;

        G. Awarding pre- and post-judgment interest to the extent the law allows; and

        H. Awarding such further relief as this Court may deem just and proper.

                                DEMAND FOR A JURY TRIAL

        Plaintiff hereby demands trial by jury on all issues in this Class Action Complaint that are

so triable.

Dated: April 17, 2024                         Respectfully submitted,

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